 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 1 of 68 PageID #: 735




DR/IC/RMS
F. #2019R01386

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

          - against -                                                  No. 22-CR-194 (EK)

ANTHONY ROMANELLO,
     also known as “Rom,” and
JOSEPH CELSO,

                                 Defendants.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                              THE PARTIES’ JOINT REQUEST TO CHARGE




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  Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 2 of 68 PageID #: 736




                                                      TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1
  REQUEST NO. 1 — General Requests ...................................................................................... 2
  REQUEST NO. 2 — Knowingly and Intentionally (Joint) ......................................................... 4
  REQUEST NO. 3 — Conspiracy Generally (Gov’t Only) ......................................................... 6
  REQUEST NO. 4 — Count One (Gov’t Only) ......................................................................... 12
  REQUEST NO. 5 — Count Two (Joint) ................................................................................... 14
  REQUEST NO. 6 — Aiding and Abetting (Gov’t Only).......................................................... 16
  REQUEST NO. 7 — Co-conspirator Liability (Gov’t Only) .................................................... 19
  REQUEST NO. 8 — Count Three (Gov’t Only) ...................................................................... 21
  REQUEST NO. 9 — Charts, Maps and Summaries (Joint) ...................................................... 23
  REQUEST NO. 10 — Transcripts (Joint) ................................................................................. 24
  REQUEST NO. 11 — Use of Bank Records, Video Footage, Cellular Phone Evidence and
  Recorded Calls (Gov’t Only)..................................................................................................... 25
  REQUEST NO. 12 — Persons Not on Trial (Joint) .................................................................. 26
  REQUEST NO. 13 — Interviews of Witnesses (if applicable) (Gov’t Only) .......................... 27
  REQUEST NO. 14 — No Duty To Produce Evidence Or To Use Particular Investigative
  Techniques (Gov’t Only) ........................................................................................................... 28
  REQUEST NO. 15 — No Duty to Call Witnesses and Uncalled Witness Equally Available
  (Gov’t Only) .............................................................................................................................. 29
  REQUEST NO. 16 — Impeachment by Prior Inconsistent Statement (if applicable) (Joint) .. 30
  REQUEST NO. 17 — Proof of Motive is Not Necessary (Gov’t Only)................................... 31
  REQUEST NO. 18 — Electronic Communications (Joint) ...................................................... 32
  REQUEST NO. 19 — Indictment Is Not Evidence (Gov’t Only) ............................................ 33
  REQUEST NO. 20 — Consider Only the Charges (if applicable) (Joint) ................................ 34
  REQUEST NO. 21 — Equality of Parties Before the Court (Gov’t Only) ............................... 35
  REQUEST NO. 22 — Presumption of Innocence and Burden of Proof Court (Gov’t Only)... 36
  REQUEST NO. 23 — Reasonable Doubt (Gov’t Only) ........................................................... 38
  REQUEST NO. 24 — Defendant’s Right Not to Testify (if applicable) (Gov’t Only) ............ 40
  REQUEST NO. 25 — Number of Witnesses and Uncontradicted Testimony (Def. Romanello
  Only) .......................................................................................................................................... 42
  REQUEST NO. 26 — Impermissible to Infer Participation from Mere Presence (Def.
  Romanello Only) ....................................................................................................................... 43
  REQUEST NO. 27 — Impermissible to Infer Participation from Association (Def. Romanello
                                          ii
  Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 3 of 68 PageID #: 737




  Only) .......................................................................................................................................... 44
  REQUEST NO. 28 — Missing Witness Not Equally Available to Defendants (if applicable)
  (Def. Romanello Only) .............................................................................................................. 45
  REQUEST NO. 29 — Bias and Hostility (Def. Romanello Only) ........................................... 47
  REQUEST NO. 30 — Interest in Outcome (if applicable) (Joint) ........................................... 48
  REQUEST NO. 31 — Permissible Inferences Drawn from the Evidence (Gov’t Only) .......... 49
  REQUEST NO. 32 — Accomplice Testimony (if applicable) (Joint) ...................................... 51
  REQUEST NO. 33 — Trial Perjury (Def. Romanello Only).................................................... 53
  REQUEST NO. 34 — Prior Perjury (if applicable) (Def. Romanello Only) ............................ 54
  REQUEST NO. 35 — Acts and Declaration of Co-Conspirators (Gov’t Only) ....................... 55
CONCLUSION ............................................................................................................................. 57




                                                                        iii
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 4 of 68 PageID #: 738




                                     PRELIMINARY STATEMENT

               Pursuant to Rule 30 of the Federal Rules of Criminal Procedure, the parties

respectfully request that the Court include the following instructions in its charge to the jury and

requests leave to offer additional instructions as they become appropriate during the course of the

trial. The parties further respectfully request that copies of the jury instructions be provided to the

jurors during their deliberations.

               The parties have exchanged their respective requests to charge and all mutually

agreed upon requests are included below. Where no agreement has been reached, each party’s

proposed charge and/or one party’s proposed charge is included with an explanation of the other

party’s objection to that charge.
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 5 of 68 PageID #: 739




                            REQUEST NO. 1 — General Requests

              The parties request that the Court charge the jury in its usual manner on the

following subjects:

              (a)     Function of the Court and the Jury;

              (b)     Direct and Circumstantial Evidence;

              (c)     Credibility of Witnesses;

              (d)     Law Enforcement Witnesses;

              (e)     Character Witnesses (if applicable);

              (f)     Expert Witnesses;

              (g)     Testimony of the Defendant (if applicable);

              (h)     Redacted Exhibits Appropriate;

              (i)     Stipulations;

              (j)     Objections;

              (k)     What is Not Evidence;

              (l)     Dates Approximate;

              (m)     Meaning of “And” in the Indictment;

              (n)     Individual Consideration of Each Defendant;

              (o)     No Questioning Wisdom of Law;

              (p)     Basing Verdict on Sympathy or Prejudice Prohibited;

              (q)     Considerations of Punishment not the Province of the Jury;

              (r)     Selection of a Foreperson;

              (s)     Jury Communications with Lawyers and the Court;

              (t)     Right to See Exhibits and to Have Testimony Read During Deliberations;



                                                  2
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 6 of 68 PageID #: 740




          (u)   Duty to Consult and Need for Unanimity; and

          (v)   Deliberations.




                                       3
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 7 of 68 PageID #: 741




                    REQUEST NO. 2 — Knowingly and Intentionally (Joint)

               Because the Indictment charges three separate counts, and because these charges

require you to consider the concepts of knowledge and intent, and specific words that describe

different types of knowledge and intent, I will tell you now about those concepts before I address

each of the three charges specifically.

   1. Knowingly

               A person acts “knowingly” if he acts intentionally and voluntarily and not because

of ignorance, mistake, accident or carelessness. Whether a defendant acted knowingly may be

proven by his conduct and by all the facts and circumstances surrounding the case.

               In considering whether the defendant had knowledge of a given fact, you may

consider whether the defendant was aware of a high probability that the fact was true, and acted

with deliberate disregard for the truth. In determining whether a defendant acted knowingly, you

may also consider whether the defendant deliberately closed his eyes to what would otherwise

have been obvious to him.

               However, knowledge may not be established by demonstrating that the defendant

was merely negligent, foolish, or mistaken; or if you find the defendant was operating under an

actual and sincere belief.

   2. Intentionally

               A person acts “intentionally” when he acts deliberately and purposefully. That is,

to be intentional, a defendant’s acts must have been the product of his conscious, objective decision

rather than the product of a mistake or accident. You may infer that a person ordinarily intends all

natural and probable consequences of an act knowingly done. It is sufficient that a defendant

intentionally engages in conduct that the law forbids. The government is not required to prove



                                                 4
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 8 of 68 PageID #: 742




that a defendant is aware of the law that actually forbids his conduct.

               Whether a person acted knowingly or intentionally is a question of fact for you to

determine like any other fact question. Direct proof of knowledge and fraudulent intent is almost

never available. It would be a rare case where it could be shown that a person wrote or stated that

as of a given time in the past, he committed an act with fraudulent intent. Such direct proof is not

required. The ultimate facts of knowledge and criminal intent although subjective may be

established by circumstantial evidence based upon a person’s outward manifestations, his words,

his conduct, his acts and all the surrounding circumstances disclosed by the evidence and the

rational and logical inferences that may be drawn therefrom.

                                             Authority

               Adapted from the Jury Charge of the Honorable Eric R. Komitee,
               United States v. Zhukov, No. 18-CR-633 (hereinafter, “Zhukov”);
               the Jury Charge of the Honorable Eric R. Komitee, United States v.
               Sterling, No. 22-CR-247 (EK) (hereinafter, “Sterling”); the Jury
               Charge of the Honorable Pamela K. Chen, United States v. Full Play
               Group S.A., et al., No. 15-CR-252 (S-3) (hereinafter, “Full Play”);
               see also L. Sand, J. Siffert, W. Loughlin, S. Reiss, S. Allen, J. Rakoff
               and D. Epstein, Modern Federal Jury Instructions (“Sand”), § 3A.01,
               Instructions 3A-1, 3A-2, 3A-4 and § 6.06, Instruction 6-19.




                                                  5
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 9 of 68 PageID #: 743




                     REQUEST NO. 3 — Conspiracy Generally (Gov’t Only)

                In Count One of the Indictment, the defendant is charged with conspiring to engage

in extortionate collection of credit against Shuqeri Selimaj, who is also known as “Bruno” and

Fiton Selimaj, who is also known as “Toni.” These two individuals are identified in the indictment

as John Doe #1 and John Doe #2, respectively. In Count Two, the defendants are charged with

the extortionate collection of credit against the same individuals. For both counts, the crimes are

alleged to have been committed in or about and between March 2017 and June 2017. I will now

explain the applicable law.

                Count One in the Indictment alleges that the defendants participated in a criminal

conspiracy.

                A conspiracy is an agreement by two or more persons to accomplish some unlawful

objective. It is sometimes referred to as a criminal partnership. The crime of conspiracy is separate

from the crime the alleged conspirators agreed to commit. A conspiracy is in and of itself a crime.

If a conspiracy exists, even if it fails to achieve its purpose, it is still a punishable crime.

                Congress has deemed it appropriate to make conspiracy, standing alone, a separate

crime even if the conspiracy did not succeed. That is because collective criminal activity poses a

greater threat to the public’s safety and welfare than individual conduct and increases the

likelihood of success of a particular criminal venture.

                In order to prove the crime of conspiracy charged in Count One of the Indictment,

the government must establish the following elements of the crime of conspiracy beyond a

reasonable doubt:

        First, two or more persons entered into the particular unlawful agreement charged in the
        conspiracy count that you are considering; and

        Second, the defendant knowingly and intentionally became a member of the conspiracy.

                                                    6
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 10 of 68 PageID #: 744




               The first element requires that the government prove that at least two conspirators

had a meeting of the minds and that they agreed to work together to accomplish the object of the

charged conspiracy.

               You need not find that the alleged members of the conspiracy met together and

entered into any express or formal agreement. To establish a conspiracy, the government is not

required to prove that the conspirators sat around a table and entered into a solemn contract orally

or in writing, stating that they have formed a conspiracy to violate the law, setting forth details of

the plan, the means by which the unlawful project is to be carried out, or the part to be played by

each conspirator.

               Common sense would suggest that when people do, in fact, undertake to enter into

a conspiracy, much is left to an unexpressed understanding. A conspiracy, by its very nature, is

almost invariably secret in both origin and execution. Therefore, it is sufficient for the government

to show that the conspirators somehow came to a mutual understanding, even if unspoken, to

accomplish an unlawful act by means of a joint plan or common scheme.

               Because conspiracy is usually characterized by secrecy, you may infer its existence

from the circumstances and the conduct of the parties and others involved. In the context of

conspiracy cases, actions can speak louder than words. So, in determining whether an agreement

existed, you may consider the actions and statements of all of these persons in deciding to act

together for the accomplishment of an unlawful purpose. In short, you may consider all of the

evidence before you and the reasonable inferences that may be drawn from all the evidence.

               The second element requires that the government prove that the defendant was a

member of that conspiracy. That is, you must determine whether the defendant knowingly and

intentionally became a participant in the conspiracy. I’ve already instructed you as to the terms

                                                  7
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 11 of 68 PageID #: 745




knowingly and intentionally, and you should apply those instructions here. In deciding whether a

defendant was a participant or a member of a conspiracy, you must consider whether, based upon

all of the evidence, the defendant knowingly and intentionally joined that conspiracy. That is, he

participated in it, with knowledge of its purpose, and with the specific intention of furthering one

or more of its objectives. Proof of financial interest in the outcome of the scheme is not essential.

Although if you find that a defendant did have a financial interest in the outcome of a scheme, you

may consider that as evidence of a defendant’s motive to join the conspiracy.

               A defendant’s knowledge is a matter of inference from the facts proved. To become

a member of a conspiracy a defendant need not have known the identities of every member, nor

need he have been apprised of all of their activities. A defendant need not have been fully informed

of all of the details or the scope of the conspiracy in order to justify an inference of knowledge on

his part.

               In addition, the extent of a defendant’s participation has no bearing on the issue of

a defendant’s guilt. A conspirator’s liability is not measured by the extent or duration of his

participation. A defendant need not have joined in all of a conspiracy’s unlawful objectives.     In

other words, the law does not require a defendant to play an equal role in the conspiracy as another

defendant or conspirator. Some conspirators may play major roles, while others may play minor

ones. Each member may perform separate and distinct acts and may perform them at different

times. Even a single act may be sufficient to draw a defendant within the circle of a conspiracy.

A person who intentionally joins an existing conspiracy is charged with the same responsibility as

if he or she had been one of the originators or instigators of the conspiracy. In other words, an




                                                 8
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 12 of 68 PageID #: 746




individual who joins an existing conspiracy is held accountable for the prior conduct of co-

conspirators.

                Thus, if you find that the conspiracy existed, and if you further find that a defendant

participated in it knowingly and intentionally, the extent or degree of his participation is not

material. The government also need not prove that the defendant actually committed the unlawful

act or acts charged as the objective of the conspiracy. Instead, the government must prove beyond

a reasonable doubt only that the purpose of the conspiracy was to commit an act or acts that are

unlawful.

                However, a defendant’s mere presence at the scene of criminal activities, or at

locations frequented by criminals, does not, by itself, make him a member of the conspiracy.

Similarly, mere association with one or more members of the conspiracy does not automatically

make a defendant a member. A person may know or be friendly with a criminal without being a

criminal himself. Mere similarity of conduct or the fact that individuals may have assembled

together and discussed common aims and interests does not necessarily establish proof of the

existence of a conspiracy.

                Similarly, mere knowledge or acquiescence without participation in the unlawful

plan is not sufficient. The fact that the acts of a defendant merely happen to further the purposes

or objectives of the conspiracy, without his knowledge, also does not make that defendant a

member. More is required under the law. What is necessary is that a defendant must have

participated with knowledge of at least some of the unlawful purposes or objectives of the

conspiracy and with the intention of aiding in the accomplishment of those unlawful ends.

                In sum, the defendant, with an understanding of the unlawful character of the

conspiracy, must have intentionally joined, engaged, advised, or assisted in it for the purpose of



                                                  9
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 13 of 68 PageID #: 747




furthering the illegal undertaking. The defendant thereby becomes a knowing and willing

participant in the unlawful agreement-that is to say, a conspirator.

                                              Authority

               Adapted from Zhukov; Full Play; the Jury Charge of the Honorable
               Joseph F. Bianco, United States v. Escobar, No. 21-CR-101
               (hereinafter, “Escobar”); Sand, § 19.01, Instructions 19-3, 19-4, 19-
               6.
               Defendant Romanello’s Objection:

                Defendant Romanello objects to the requested instruction above. Generally,
Defendant Romanello objects that the instruction includes what a defendant need not know and
that it should include what a defendant must know as well as the instruction’s reference to the
defendant as a participant as opposed to a member. Specifically, Defendant Romanello objects to
the second sentence in the fourth paragraph, the seventh and eighth paragraphs, the third to last
sentence of the twelfth paragraph, and the last two sentences of the thirteenth paragraph. The
defendant’s objections are shown below in tracked changes:
               Congress has deemed it appropriate to make conspiracy, standing alone, a separate
crime even if the conspiracy did not succeed. That is because collective criminal activity poses a
greater threat to the public’s safety and welfare than individual conduct and increases the
likelihood of success of a particular criminal venture.

                                          *       *       *

                You need not find that the alleged members of the conspiracy met together and
entered into any express or formal agreement. To establish a conspiracy, the government is not
required to prove that the conspirators sat around a table and entered into a solemn contract orally
or in writing, stating that they have formed a conspiracy to violate the law, setting forth details of
the plan, the means by which the unlawful project is to be carried out, or the part to be played by
each conspirator.

               Common sense would suggest that when people do, in fact, undertake to enter into
a conspiracy, much is left to an unexpressed understanding. A conspiracy, by its very nature, is
almost invariably secret in both origin and execution. Therefore, it is sufficient for the government
to show that the conspirators somehow came to a mutual understanding, even if unspoken, to
accomplish an unlawful act by means of a joint plan or common scheme.

                                          *       *       *

               In addition, the extent of a defendant’s participation has no bearing on the issue of
a defendant’s guilt. A conspirator’s liability is not measured by the extent or duration of his
participation. A defendant need not have joined in all of a conspiracy’s unlawful objectives. In
other words, the law does not require a defendant to play an equal role in the conspiracy as another

                                                 10
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 14 of 68 PageID #: 748




defendant or conspirator. Some conspirators may play major roles, while others may play minor
ones. Each member may perform separate and distinct acts and may perform them at different
times. Even a single act may be sufficient to draw a defendant within the circle of a conspiracy.
A person who intentionally joins an existing conspiracy is charged with the same responsibility as
if he or she had been one of the originators or instigators of the conspiracy. In other words, an
individual who joins an existing conspiracy is held accountable for the prior conduct of co-
conspirators.

                Thus, if you find that the conspiracy existed, and if you further find that a defendant
participated in it knowingly and intentionally, the extent or degree of his participation is not
material. The government also need not prove that the defendant actually committed the unlawful
act or acts charged as the objective of the conspiracy. Instead, the government must prove beyond
a reasonable doubt only that the purpose of the conspiracy was to commit an act or acts that are
unlawful.

              Alternatively, Defendant Romanello proposes substantive conspiracy instructions,
attached hereto as Exhibit A.




                                                  11
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 15 of 68 PageID #: 749




                           REQUEST NO. 4 — Count One (Gov’t Only)

                Count One charges that the defendants conspired to engage in extortionate

collection of credit. Count One reads, in pertinent part, as follows:

                In or about and between March 2017 and June 2017, both dates
                being approximate and inclusive, within the Eastern District of New
                York and elsewhere, the defendants ANTHONY ROMANELLO,
                also known as “Rom,” . . . and JOSEPH CELSO, together with
                others, did knowingly and intentionally agree to participate in the
                use of extortionate means to collect and attempt to collect one or
                more extension of credit from [Fiton Selimaj, also known as “Toni”]
                and [Shuqeri Selimaj, also known as “Bruno”].

                The statute relevant to Count One is Section 894 of Title 18 of the United States

Code, which provides as follows:

                Whoever knowingly participates in any way or conspires to do
                so . . . in the use of any extortionate means . . . to collect or attempt
                to collect any extension of credit . . . [commits a crime].

                To prove a conspiracy to engage in extortionate collection of credit, the government

must prove beyond a reasonable doubt, by evidence of the defendant’s own actions and conduct,

that he entered into the conspiracy knowingly and intentionally, with the specific intent to engage

in the extortionate collection of credit. If two or more persons agreed to engage in extortionate

collection of credit, each is guilty of extortionate collection of credit conspiracy. I have already

instructed you on the elements of conspiracy. The elements of engaging in extortionate collection

of credit are set forth in the next instruction.

                I remind you that the crime of conspiracy—an agreement—to violate a law is

an independent offense. It is separate and distinct from the actual violation of any specific law.

The government need not prove that each respective defendant actually committed the unlawful

act charged as the object of the conspiracy in Count One. Rather, if you find that a defendant

knowingly and intentionally agreed to commit this crime, then you should find that defendant


                                                   12
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 16 of 68 PageID #: 750




guilty of Count One. Accordingly, you may find the defendants guilty of the offenses charged in

Count One even if you find that there was no violation of the law prohibiting extortionate collection

of credit.

                                             Authority

               Adapted from Zhukov; Full Play; from the Jury Charge of the
               Honorable Allyne R. Ross, United States v. Asaro, No. 14-CR-26
               (hereinafter, “Asaro”); the Jury Charge of the Honorable Ann M.
               Donnelly, United States v. Sharipov, No. 19-CR-282 (hereinafter,
               “Sharipov”).

               Defendant Romanello’s Objection:

              Defendant Romanello objects to the inclusion of the second to last sentence of the
fourth paragraph of the instruction. The defendant’s objections are shown below in tracked
changes:
               I remind you that the crime of conspiracy—an agreement—to violate a law is
an independent offense. It is separate and distinct from the actual violation of any specific law.
The government need not prove that each respective defendant actually committed the unlawful
act charged as the object of the conspiracy in Count One. Rather, if you find that a defendant
knowingly and intentionally agreed to commit this crime, then you should find that defendant
guilty of Count One. Accordingly, you may find the defendants guilty of the offenses charged in
Count One even if you find that there was no violation of the law prohibiting extortionate collection
of credit.




                                                 13
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 17 of 68 PageID #: 751




                              REQUEST NO. 5— Count Two (Joint)

               I will now instruct you on Count Two of the Indictment. Count Two charges the

defendants with extortionate collection of credit.

               Count Two reads, in pertinent part, as follows:

               In or about and between March 2017 and June 2017, both dates
               being approximate and inclusive, within the Eastern District of New
               York and elsewhere, the defendants ANTHONY ROMANELLO,
               also known as “Rom,” . . . and JOSEPH CELSO, together with
               others, did knowingly and intentionally participate in the use of
               extortionate means to collect and attempt to collect one or more
               extension of credit from [Fiton Selimaj, also known as “Toni”] and
               [Shuqeri Selimaj, also known as “Bruno”].

               The statute relevant to Count Two is Section 894 of Title 18 of the United States

Code, which provides as follows:

               Whoever knowingly participates in any way or conspires to do
               so . . . in the use of any extortionate means . . . to collect or
               attempt to collect any extension of credit . . . [commits a crime].

               To prove a violation of this statute, the government must establish each of the

following three elements beyond a reasonable doubt:

       First: that the defendant collected or attempted to collect an extension of credit;

       Second: that the defendant used extortionate means to collect or attempt to collect the
       extension of credit; and

       Third: that the defendant participated knowingly in the use of extortionate means.

               I will explain each of these elements in greater detail.

   1. Collection of Extension of Credit

               The first element of the offense is that the defendant collected or attempted to

collect an extension of credit.

               To collect means simply to induce a person in any way to make a payment of

money. To extend credit means to make or renew any loan, or to enter into any agreement, tacit
                                                 14
  Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 18 of 68 PageID #: 752




or express, whereby the repayment of a debt may, or will be deferred. It makes no difference

whether the debt or claim in question is valid or acknowledged, or how it may have arisen.

    2. Extortionate Means

                The second element of the offense is that extortionate means were used to collect

or attempt to collect an extension of credit. Extortionate means are any means which involve the

use, or an express or implicit threat of use, of violence or other criminal means to cause harm to

the person, reputation, or property of any person. What is extortionate is a method of collection

involving the use or threatened use of physical harm to persons or property, taking or threatening

to take property without a legal right to do so, or other extralegal efforts to intimidate a debtor.

                The second element is directed at the conduct of the defendant, not at the state of

mind of the victim. The defendant’s actions need not generate actual fear. You need only find

that the defendant intended to take actions which reasonably would induce fear in an ordinary

person.

    3. Knowing Participation

                The third element of the offense is knowing participation in the use of extortionate

means. I have already instructed you as to what it means to act knowingly, and that definition

applies here.

                                              Authority

                Adapted from Asaro; Sharipov; Sand, § 32.02, Instructions 32-6, 32-
                7, 32-8, 32-9; see also United States v. Pacione, 738 F.2d 567 (2d
                Cir. 1984); United States v. Bufalino, 576 F.2d 446 (2d Cir. 1978);
                United States v. Gambino, 566 F.2d 414 (2d Cir. 1977).




                                                  15
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 19 of 68 PageID #: 753




                     REQUEST NO. 6 — Aiding and Abetting (Gov’t Only)

               Even if you find that the government has not proven beyond a reasonable doubt that

a defendant directly engaged in the extortionate collection of credit, you must also consider

whether the government has met its burden of proving a defendant’s guilt by considering other

theories of liability, which are called aiding-and-abetting liability and co-conspirator liability.

               The government may establish a defendant’s guilt of Count Two through any one

of these theories—direct liability, aiding-and-abetting liability or co-conspirator liability.

               The federal definition of “aiding and abetting” is contained in Section 2 of Title 18,

United States Code, which provides as follows:

               Whoever commits an offense against the United States or aids or
               abets or counsels, commands or induces, or procures its
               commission, is punishable as a principal.

               Under the aiding and abetting statute, it is not necessary to find that the defendant

himself committed the crime charged in Count Two in order for the government to sustain its

burden of proof. This is so because under the law, a person who aids and abets another to commit

an offense is just as guilty of that offense as if he committed it himself.

               Accordingly, you may find the defendant guilty of the offense charged if you find

beyond a reasonable doubt that the government has proven that another person actually committed

the offense and that the defendant aided or abetted that person in the commission of the offense.

               As you can see, the first requirement is to find that another person has committed

the crime charged. Obviously, no one can be convicted of aiding and abetting the criminal act of

another if no crime was committed by the other person in the first place. But if you find that a

crime was committed, then you must determine whether the defendant aided or abetted the

commission of that crime.

                                                  16
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 20 of 68 PageID #: 754




               To aid or abet another to commit a crime, a defendant must do two things. First,

he must knowingly associate himself in some way with the crime, and second, he must participate

in the crime by doing some act to help make the crime succeed.

               To establish that the defendant knowingly associated himself with the crime, the

government must establish that the defendant knew and intended that the crime charged would be

committed.

               To establish that the defendant participated in the commission of the crime, the

government must prove that the defendant engaged in some affirmative conduct for the specific

purpose of bringing about the crime. The defendant’s mere presence where a crime is being

committed, even coupled with knowledge by the defendant that a crime is being committed, is not

sufficient to establish aiding and abetting. One who has no knowledge that a crime is being

committed or is about to committed, but inadvertently does something that aids in the commission

of that crime is not an aider or abettor. An aider and abettor must know that the crime is being

committed and act in a way that is intended to bring about the success of the criminal venture.

               To determine whether a defendant aided or abetted the commission of a crime, ask

yourself these questions:

               Did he participate and intend to participate in the crime?

               Did he knowingly associate himself with the criminal venture?

               Did he seek by his actions to make the criminal venture succeed?

               If he did, then the defendant is an aider and abettor, and therefore guilty of the

offense. If, on the other hand, your answer to any one of these questions is “no,” then the defendant

is not an aider and abettor, and you must find him not guilty under that theory.


                                                 17
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 21 of 68 PageID #: 755




                                             Authority

               Adapted from Zhukov; see also Sand, § 11.01, Instructions 11-1,11-
               2.

               Defendant Romanello’s Objection:

               Defendant Romanello objects to the inclusion of the first three paragraphs of the
proposed instruction and proposes the below addition, as shown in tracked changes, to the second
to last paragraph of the instruction, citing Sand, Instruction 11-2.:1

                 To establish that the defendant participated in the commission of the crime, the
government must prove that the defendant engaged in some affirmative conduct for the specific
purpose of bringing about the crime. Participation in a crime is willful if done voluntarily and
intentionally, and with the specific intent to do something the law forbids, or with the specific
intent to fail to do something which the law requires to be done; that is to say, with a bad purpose
either to disobey or to disregard the law. The defendant’s mere presence where a crime is being
committed, even coupled with knowledge by the defendant that a crime is being committed, is not
sufficient to establish aiding and abetting. One who has no knowledge that a crime is being
committed or is about to committed, but inadvertently does something that aids in the commission
of that crime is not an aider or abettor. An aider and abettor must know that the crime is being
committed and act in a way that is intended to bring about the success of the criminal venture.




       1
              The government notes that the proposed additional language from Defendant
Romanello is noted in Sand to be used only “[i]f willfulness is charged,” which it is not in this
case. See Sand, § 11.01, Instruction 11-2.
                                               18
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 22 of 68 PageID #: 756




                    REQUEST NO. 7 — Co-conspirator Liability (Gov’t Only)

                Another way in which you should evaluate the guilt of the defendants for Count

Two, even if you do not find that the government has satisfied its burden of proof with respect to

direct liability or aiding-and-abetting liability, is called “co-conspirator liability.”

                If you find beyond a reasonable doubt that a defendant was a member of the

conspiracy charged in Count One of the Indictment then you may, but are not required to, find that

defendant guilty of the substantive crime charged against him in Count Two. To do so, however,

you must first find, beyond a reasonable doubt, each of the following elements as to Count Two:

        First, the substantive crime charged in Count Two was committed;

        Second, the person or persons you find actually committed the crime were members of
        the conspiracy you found to have existed;

        Third, the substantive crime was committed pursuant to the common plan and
        understanding you found to exist among the conspirators;

        Fourth, the defendant was a member of that conspiracy at the time the substantive crime
        was committed; and

        Fifth, the defendant could have reasonably foreseen that the substantive crime might be
        committed by his co-conspirators.

                If you find all five of these elements to exist beyond a reasonable doubt, then you

may find a defendant guilty of Count Two, even though he did not personally participate in the

acts constituting the crime or did not have actual knowledge of it.

                The reason for this rule is simply that a co-conspirator who commits a substantive

crime pursuant to a conspiracy is deemed to be the agent of the other conspirators. Therefore, all

of the co-conspirators must bear criminal responsibility for the commission of the substantive

crimes committed pursuant to that conspiracy.

                If, however, you are not satisfied as to the existence of any of these five elements,
                                                 19
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 23 of 68 PageID #: 757




then you may not find that defendant guilty of the substantive crime, unless the government proves,

beyond a reasonable doubt, that the defendant personally committed the substantive crime charged

in Count Two, or aided and abetted the commission of the substantive crime charged in Count

Two.

                                             Authority

               Adapted from the Jury Charge of the Honorable Nicholas G.
               Garufis, United States v. Ruslan Asainov, No. 19-CR-402
               (hereinafter, “Asainov”); see also Sand, § 19.03, Instruction 19-13;
               Pinkerton v. United States, 328 U.S. 640 (1946); United States v.
               Gallego, 191 F.3d 156 (2d Cir. 1999).
               Defendant Romanello’s Objection:

                Defendant Romanello objects to this requested instruction on the basis that the
“Pinkerton charge should not be given where the evidence of the conspiracy charge is sufficiently
thin that the Pinkerton charge invites the jury to infer the conspiracy from the substantive charge.
United States v. Sperling, 506 F.2d 1323, 1341-42 (2d Cir. 1974), cert. denied, 420 U.S. 962
(1975).”

              In addition, Defendant Romanello objects to the inclusion of the first sentence of
the second paragraph of the instruction. The defendant’s objections are shown below in tracked
changes:

                If you find beyond a reasonable doubt that a defendant was a member of the
conspiracy charged in Count One of the Indictment then you may, but are not required to, find that
defendant guilty of the substantive crime charged against him in Count Two. To do so, however,
you must first find, beyond a reasonable doubt, each of the following elements as to Count Two: .
..




                                                20
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 24 of 68 PageID #: 758




                         REQUEST NO. 8 — Count Three (Gov’t Only)

               Count Three charges the defendant Joseph Celso with obstruction of justice.

Count Three reads, in pertinent part, as follows:

               In or about November 2019, within the Eastern District of New York
               and elsewhere, the defendant JOSEPH CELSO, together with
               others, did knowingly, intentionally and corruptly obstruct and
               impede, and attempt to obstruct and impede, an official proceeding,
               to wit: a Federal Grand Jury investigation in the Eastern District of
               New York into the offenses charged in Counts One and Two.

               The statute relevant to Count Three is Section 1512(c)(2) of Title 18, United

States Code, which provides as follows:

               Whoever corruptly . . . otherwise obstructs, influences, or impedes
               any official proceeding, or attempts to do so, [violates federal law].

               The government alleges that the defendant otherwise obstructed, influenced and

impeded the grand jury investigation, in violation of Section 1512(c)(2). To establish a violation

of Section 1512(c)(2), the government must prove each of the following elements beyond a

reasonable doubt:

       First, the defendant obstructed, influenced or impeded or attempted to do obstruct,
       influence or impede an official proceeding; and

       Second, the defendant acted corruptly.

              I will explain each of these elements in greater detail.

   1. Obstructing an Official Proceeding

               The first element the government must prove beyond a reasonable doubt is that the

defendant obstructed, influenced, impeded or attempted to obstruct, influence or impede an official

proceeding.




                                                 21
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 25 of 68 PageID #: 759




               An “official proceeding” means a proceeding before a federal court, a federal judge,

or a federal agency. You are instructed that a federal grand jury investigation is an official

proceeding. The law does not require that the federal proceeding be pending at the time of the

defendant’s actions as long as the proceeding was reasonably foreseeable such that the defendant

knew that his actions were likely to affect the proceeding. In addition, the government does not

have to prove that the defendant knew that the proceeding would be in federal court.

   2. Acted Corruptly

               The second element the government must prove is that the defendant acted

corruptly. To act corruptly means to act with an improper purpose and to engage in conduct

knowingly and dishonestly and with the intent to obstruct, impede, or influence the due

administration of justice.

               The due administration of justice refers to the fair, impartial, uncorrupted, and

unimpeded investigation, prosecution, disposition, or trial of any matter in federal courts, including

a federal grand jury proceeding or investigation.

                                             Authority

               Adapted from Asainov; Sand, § 46.11, Instructions 46-69, 46-70,
               46-71.
               Defendant Celso’s Objection:

              Defendant Celso objects to the instruction as proposed and requests that the
instruction be “more specific and add specifically the name of a victim” whose testimony
Defendant Celso “attempted to obstruct.”




                                                 22
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 26 of 68 PageID #: 760




                   REQUEST NO. 9 — Charts, Maps and Summaries (Joint)

              The government has presented exhibits in the form of charts, maps and summaries.

These charts, maps and summaries were admitted as a supplement to the underlying documents

and testimony that they represent in order to save time and avoid unnecessary inconvenience. It

is the jury’s responsibility to determine whether the charts and summaries accurately reflect the

evidence presented. You should consider these charts, maps, and summaries as you would any

other evidence.

                                           Authority

              Adapted from Sand, § 5.05, Instruction 5-12; the Jury Charge of the
              Honorable Eric N. Vitaliano, United States v. Brack, No. 18-CR-
              684.




                                               23
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 27 of 68 PageID #: 761




                             REQUEST NO. 10 — Transcripts (Joint)

               The parties has been permitted to hand out transcripts that it prepared containing

the parties’ interpretation of what appears on audio recordings which have been received as

evidence. Those were given to you as an aid or guide to assist you in listening to the recordings.

However, they are not in and of themselves evidence. Therefore, when the recordings were played

I advised you to listen very carefully to the recordings themselves. You alone should make your

own interpretation of what appears on the recordings based on what you heard. If you think you

heard something differently than appeared on the transcript then what you heard is controlling.

Again, you, the jury, are the sole judges of the facts.

                                              Authority

               Adapted from Sand, § 5.04, Instruction 5-9.




                                                  24
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 28 of 68 PageID #: 762




   REQUEST NO. 11 — Use of Bank Records, Video Footage, Cellular Phone Evidence and
                           Recorded Calls (Gov’t Only)

              You have heard testimony about bank records, surveillance video footage, evidence

obtained in connection with cellular telephones and evidence of recorded phone calls and text

messages. Such evidence was properly admitted in this case and may be considered by you.

Whether you approve or disapprove of how the evidence was obtained should not enter into your

deliberations because I now instruct you that the government’s use of this evidence is entirely

lawful.

              You must, therefore, regardless of your personal opinions, give this evidence full

consideration along with all the other evidence in the case in determining whether the government

has proved the defendant’s guilt beyond a reasonable doubt.

                                           Authority

              Adapted from Sterling; Full Play.
              Defendant Romanello’s Objection:

              Defendant Romanello objects to this instruction.




                                               25
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 29 of 68 PageID #: 763




                        REQUEST NO. 12 — Persons Not on Trial (Joint)

               You have heard evidence about the involvement of certain other people in the

alleged crimes referred to in the Indictment. You may not draw any inference, favorable or

unfavorable, toward the government or the defendants from the fact that certain persons are not on

trial before you. That these individuals are not on trial before you is not your concern. You should

neither speculate as to the reason these people are not on trial before you nor allow their absence

as parties to influence in any way your deliberations in this case. Nor should you draw any

inference from the fact that any other person is not present at this trial. Your concern is solely the

defendants on trial before you.

                                             Authority

               Adapted from Zhukov; Sterling; Full Play; Escobar.




                                                 26
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 30 of 68 PageID #: 764




            REQUEST NO. 13 — Interviews of Witnesses (if applicable) (Gov’t Only)

                There was testimony at trial that the attorneys and agents for the government

interviewed witnesses when preparing for, and during the course of, the trial. You should not draw

any unfavorable inference from that testimony. To the contrary, the attorneys were obliged to

prepare this case as thoroughly as possible and might have been derelict in the performance of

their duties if they failed to interview witnesses before this trial began and as necessary throughout

the course of the trial.

                                             Authority

                Adapted from the Jury Charge of the Honorable Pamela K. Chen,
                United States v. Pippins, No. 19-CR-378 (hereinafter, “Pippins”);
                the Honorable Kiyo A. Matsumoto, United States v. Rivera, No. 13-
                CR-149 (hereinafter, “Rivera”).
                Defendant Romanello’s Objection:

                Defendant Romanello objects to this instruction.




                                                 27
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 31 of 68 PageID #: 765




    REQUEST NO. 14 — No Duty To Produce Evidence Or To Use Particular Investigative
                            Techniques (Gov’t Only)

               Although the government bears the burden of proof beyond a reasonable doubt, and

although a reasonable doubt can arise from lack of evidence, you are instructed that there is no

legal requirement that the government use any specific investigative techniques or pursue every

investigative lead to prove its case. The government, its agents, and employees are not on trial,

and law enforcement techniques are not your concern. Therefore, although you are to carefully

consider the evidence adduced by the government, you are not to speculate as to why they used

the techniques they did or why they did not use other techniques. Additionally, the law does not

require that all things mentioned during the course of the trial be produced as exhibits. Your

concern is to determine whether or not, on the evidence or lack of evidence, each of the defendant’s

guilt has been proved beyond a reasonable doubt.

                                             Authority

               Adapted from the Jury Charge of the Honorable Pamela K. Chen,
               United States v. Brendan Hunt, No. 19-CR-358; Sand, § 4.01,
               Instruction 4-4 and § 6.04, Instruction 6-7; see generally United
               States v. Erb, 543 F.2d 438, 444-45 (2d Cir. 1976) (discussing
               propriety of missing witness charges).
               Defendant Romanello’s Objection:

               Defendant Romanello objects to this instruction.




                                                28
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 32 of 68 PageID #: 766




   REQUEST NO. 15 — No Duty to Call Witnesses and Uncalled Witness Equally Available
                                   (Gov’t Only)

              I also charge you that all persons who may have been present at any time or place

mentioned in the case, or who may appear to have some knowledge of the issues in this case, need

not be called as witnesses. Both the government and the defense have the same right to subpoena

witnesses to testify on their behalf. There is no duty on either side, however, to call a witness

whose testimony would be merely cumulative of testimony already in evidence, or who would

merely provide additional testimony to facts already in evidence. Therefore, you should not draw

any inferences or reach any conclusions as to what they would have testified to had they been

called. Their absence should not affect your judgment in any way.

              You also should, however, remember my instruction that the law does not impose

on a defendant in a criminal case the burden or duty of calling any witness or producing any

evidence.

                                           Authority

              Adapted from Pippins; Rivera; Sand, § 6.04, Instruction 6-7; see
              also United States v. Bahna, 68 F.3d 19, 22 (2d Cir. 1995).
              Defendant Romanello’s Objection:

              Defendant Romanello objects to this instruction.




                                               29
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 33 of 68 PageID #: 767




   REQUEST NO. 16 — Impeachment by Prior Inconsistent Statement (if applicable) (Joint)

               You have heard evidence that a witness made a statement on an earlier occasion

that counsel argues is inconsistent with the witness’s trial testimony. Evidence of the prior

inconsistent statement was placed before you for the limited purpose of helping you decide

whether to believe the trial testimony of the witness. If you find that the witness made an earlier

statement that conflicts with his/her trial testimony, you may consider that fact in deciding how

much of his/her trial testimony, if any, to believe.

               In making this determination, you may consider whether the witness purposely

made a false statement or whether it was an innocent mistake; whether the inconsistency concerns

an important fact, or whether it had to do with a small detail; whether the witness had an

explanation for the inconsistency and whether that explanation appealed to your common sense.

               It is exclusively your duty, based upon all the evidence and your own good

judgment, to determine whether the prior statement was inconsistent, and if so, how much, if any,

weight should be given to the inconsistent statement in determining whether to believe all, part, or

none of the witness’s testimony.

                                              Authority

                 Adapted from Rivera; Sand, § 7.01[4], Instruction 7-19.




                                                 30
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 34 of 68 PageID #: 768




              REQUEST NO. 17 — Proof of Motive is Not Necessary (Gov’t Only)

                Intent and motive are different concepts. Motive is what prompts a person to act.

Intent refers only to the state of mind with which a particular act is done. Proof of motive is not

an element of any of the crimes with which the defendant is charged. Proof of motive does not

establish guilt, nor does the lack of proof of motive establish that the defendant is not guilty. If all

the elements of a crime are proven beyond a reasonable doubt, it is immaterial what a defendant’s

motive for the crime may be, whether there are multiple or mixed motives, or whether the

defendant’s motive was shown at all. The presence or absence of motive, is, however, a

circumstance which you may consider as bearing on the intent of the defendant.

                                              Authority

                Adapted from the Jury Charge of the Honorable Margo K. Brodie,
                United States v. Anthony Pandrella, No. 19-CR-122; Sand, § 6.06,
                Instruction 6-18.

                Defendant Romanello’s Objection:

                Defendant Romanello objects to this instruction.




                                                  31
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 35 of 68 PageID #: 769




                    REQUEST NO. 18 — Electronic Communications (Joint)

               During your deliberations, you must not communicate with or provide any

information to anyone by any means about this case. You may not use any electronic device or

media such as a telephone, cell phone, smartphone, iPhone, computer, internet, text, instant

message service, any internet chat room, blog, websites such as Facebook, Instagram, Snapchat,

TikTok, LinkedIn, YouTube or Twitter to communicate to anyone any information about this case

or to conduct any research about this case until I accept your verdict. You should not consult

dictionaries or reference materials or use any other electronic tool to obtain information about the

case or to help you decide the case. Do not try to find information from any source outside the

confines of this Court.

                                             Authority

               Adapted from the Jury Charge of the Honorable Nicholas G.
               Garaufis, United States v. Elias, No. 18-CR-33; see also United
               States v. Ganias, 755 F.3d 125, 132-33 (2d Cir. 2014)
               (recommending this instruction).




                                                32
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 36 of 68 PageID #: 770




                 REQUEST NO. 19 — Indictment Is Not Evidence (Gov’t Only)

               The defendants are formally charged in an indictment. As I instructed you at the

beginning of this case, an indictment is a charging instrument. A charge in an indictment is called

a “count.” The Indictment in this case contains three counts: counts one and two are brought

against both defendants and count three is against defendant Joseph Celso. An indictment is

merely a statement of the charge and is not itself evidence.

                                             Authority

               Adapted from Zhukov; Sterling; Sand, § 3.01, Instruction 3-1.


               Defendant Romanello’s Objection:

               Defendant Romanello instead proposes the following instruction, citing Sand,
Instruction 3-1:2

               With these preliminary instructions in mind, let us turn to the charges against the
defendant, as contained in the indictment. I remind you that an indictment itself is not evidence. It
merely describes the charges made against the defendant. It is an accusation. It may not be
considered by you as any evidence of the guilt of the defendant.

               In reaching your determination of whether the government has proved the
defendant guilty beyond a reasonable doubt, you may consider only the evidence produced or lack
of evidence.




       2
               The government notes that although Defendant Romanello cites Sand, Instruction
3-1, the proposed instruction is not Instruction 3-1 listed in Sand.
                                                 33
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 37 of 68 PageID #: 771




            REQUEST NO. 20 — Consider Only the Charges (if applicable) (Joint)

               The defendants are not charged with committing any crime other than the offenses

contained in the Indictment. You have heard evidence of other acts committed by the defendants.

That evidence is to be considered solely for a limited purpose, which I will explain to you in a

moment. But I want to emphasize to you now that you are not to consider that evidence for any

other purpose, and you are only to return a verdict as to the charges contained in the Indictment.

                                            Authority

               Adapted from Sterling; Sand, § 3.01, Instruction 3-3.




                                                34
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 38 of 68 PageID #: 772




            REQUEST NO. 21 — Equality of Parties Before the Court (Gov’t Only)

               You are to perform the duty of finding the facts without bias or prejudice as to any

party. You are to perform your final duty in an attitude of complete fairness and impartiality.

               The case is important to the government, for the enforcement of criminal laws is a

matter of primary concern to the community. Equally, it is important to the defendants, who are

charged with serious crimes.

               The fact that the prosecution is brought in the name of the United States of America

entitles the government o no greater consideration than that accorded to any other party to a

litigation. By the same token, it is entitled to no less consideration. All parties, whether

government or individuals, stand as equals at the bar of justice.

                                             Authority

               Adapted from Zhukov; Sterling; Sand, § 3.01, Instruction 3-3.

               Defendant Romanello’s Objection:

              Defendant Romanello instead proposes the following instruction, citing the Jury
Charge of the Honorable I. Leo Glasser, United States v. Coffey, et al., No. 04-CR-651 (ILG):

               The fact that this prosecution is brought in the name of the United States
Government does not entitle the United States to any greater consideration than is due the
Defendant Anthony Romanello [or Defendant Joseph Celso]. By the same token, it is entitled to
no less consideration. The parties – the United States Government and the Defendant[s] – are
equal before this Court, and they are entitled to equal consideration. Neither the Government nor
the Defendant[s are] entitled to any sympathy or favor.




                                                35
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 39 of 68 PageID #: 773




   REQUEST NO. 22 — Presumption of Innocence and Burden of Proof Court (Gov’t Only)

               The defendants have pleaded not guilty to the charges in the Indictment. To convict

a defendant, the burden is on the prosecution to prove the defendant’s guilt of each element of a

charge beyond a reasonable doubt. This burden never shifts to the defendant, for the simple reason

that the law presumes a defendant to be innocent and never imposes upon a defendant in a criminal

case the burden or duty of calling any witness or producing any evidence.

               In other words, each defendant starts with a clean slate and is presumed innocent

of each charge until such time, if ever, that you as a jury are satisfied that the government has

proven a given defendant is guilty of a given charge beyond a reasonable doubt.

                                             Authority

               Adapted from Zhukov; Sterling; Full Play; Sand, § 4.01, Instruction
               4-1.

               Defendant Romanello’s Objection:

               Defendant Romanello instead proposes the following instruction, citing Sand,
Instruction 4-1:3

               Although the defendant has been indicted, you must remember than an indictment
is only an accusation. It is not evidence. The defendant has pled not guilty to that indictment.

                As a result of the defendant’s plea of not guilty the burden is on the prosecution to
prove guilt beyond a reasonable doubt. This burden never shifts to a defendant for the simple
reason that the law never imposes upon a defendant in a criminal case the burden or duty of calling
any witness or producing any evidence.

               The law presumes the defendant to be innocent of all the charges against him. I
therefore instruct you that the defendant is to be presumed by you to be innocent throughout your
deliberations until such time, if ever, you as a jury are satisfied that the government has proven
him guilty beyond a reasonable doubt.



       3
               The government notes that although Defendant Romanello cites Sand, Instruction
4-1, the proposed instruction is not Instruction 4-1 listed in Sand.
                                                 36
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 40 of 68 PageID #: 774




               The defendant begins the trial here with a clean slate. This presumption of
innocence alone is sufficient to acquit a defendant unless you as jurors are unanimously convinced
beyond a reasonable doubt of his guilt, after a careful and impartial consideration of all of the
evidence in the case. If the government fails to sustain its burden, you must find the defendant not
guilty.

               This presumption was with the defendant when the trial began and remains with
him even now as I speak to you and will continue with the defendant into your deliberations unless
and until you are convinced that the government has proven his guilt beyond a reasonable doubt.




                                                37
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 41 of 68 PageID #: 775




                      REQUEST NO. 23 — Reasonable Doubt (Gov’t Only)

               Since, in order to convict the defendant of a given charge, the Government is

required to prove that charge beyond a reasonable doubt, the question then is: What is a reasonable

doubt? The words almost define themselves. It is a doubt based upon reason. It is doubt that a

reasonable person has after carefully weighing all of the evidence. It is a doubt that would cause a

reasonable person to hesitate to act in a matter of importance in his or her personal life. Proof

beyond a reasonable doubt must, therefore, be proof of a convincing character that a reasonable

person would not hesitate to rely on in making an important decision.

               A reasonable doubt is not an impulse or whim. It is not speculation or mere

suspicion. It is not an excuse to avoid the performance of an unpleasant duty. The law does not

require that the Government prove guilt beyond all possible doubt. Proof beyond a reasonable

doubt is sufficient to convict.

               If, after fair and impartial consideration of the evidence, you have a reasonable

doubt as to a defendant’s guilt with respect to a particular charge against him, you must find the

defendant not guilty of that charge. On the other hand, if after fair and impartial consideration of

all the evidence, you are satisfied beyond a reasonable doubt of a defendant's guilt with respect to

a particular charge against him, then you should find the defendant guilty of that charge.

                                             Authority

               Adapted from Zhukov; Sterling; Sand, § 4.01, Instruction 4-2.

               Defendant Romanello’s Objection:

               Defendant Romanello proposes the below changes to the second and third




                                                38
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 42 of 68 PageID #: 776




paragraphs of the instruction, citing Sand, Instruction 4-2.4 The defendant’s proposed changes
are shown below in tracked changes:

                 A reasonable doubt is not an impulse or whim. It is not speculation or mere
suspicion. It is not an excuse to avoid the performance of an unpleasant duty. In a criminal case,
the burden is at all times upon the government to prove guilt beyond a reasonable doubt. The law
does not require that the Government prove guilt beyond all possible doubt. Proof beyond a
reasonable doubt is sufficient to convict. The burden never shifts to the defendant, which means
that it is always the government’s burden to prove each of the elements of the crimes charged
beyond a reasonable doubt.

                If, after fair and impartial consideration of the evidence, you have a reasonable
doubt, it is your duty to acquit the defendant as to a defendant’s guilt with respect to a particular
charge against him, you must find the defendant not guilty of that charge. On the other hand, if
after fair and impartial consideration of all the evidence, you are satisfied of the defendant’s guilt
beyond a reasonable doubt, you should vote to convictbeyond a reasonable doubt of a defendant's
guilt with respect to a particular charge against him, then you should find the defendant guilty of
that charge.

              Alternatively, Defendant Romanello proposes the below instruction, citing the
Jury Charge of the Honorable Jack B. Weinstein, United States v. Talarico, et al., No. 84-CR-
548 (JBW):

               A reasonable doubt means a doubt sufficient to cause a prudent person to hesitate
to act in the most important affairs of his life. Reasonable doubt may result from the evidence
produced, or from failure to produce evidence. Finding an individual to be guilty of committing
a crime, and subjecting him to criminal penalties, is most serious and you will consider this fact
in deciding whether you have a reasonable doubt. Nevertheless, if at the end of the trial you are
convinced beyond a reasonable doubt that a defendant is guilty of the crime charged, then you
should find him guilty of that crime.




       4
               The government notes that although Defendant Romanello cites Sand, Instruction
4-2, the proposed instruction is not Instruction 4-2 listed in Sand.
                                                 39
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 43 of 68 PageID #: 777




        REQUEST NO. 24 — Defendant’s Right Not to Testify (if applicable) (Gov’t Only)

               The defendant(s) chose not to testify in this case. Under our Constitution, a

defendant has no obligation to testify or to present any evidence, because it is the Government’s

burden to prove a defendant’s guilt beyond a reasonable doubt. A defendant is never required to

prove that he or she is innocent.

               Therefore, you must not attach any significance to the fact that a given defendant

did not testify. No adverse inference against a defendant may be drawn by you because he did not

take the witness stand, and you may not consider it in any way in your deliberations in the jury

room.

                                            Authority

               Adapted from Asainov; Sand, § 5.07, Instruction 5-21.

               Defendant Romanello’s Objection:

             Defendant Romanello instead proposes the below instruction, citing the Jury
Charge of the Honorable Louis L. Stanton, United States v. Santiago, et al., No. 89CR-576
(S.D.N.Y.).

               A defendant in a criminal case has an absolute right not to testify, and not to
produce any evidence. He is not called upon to prove his innocence since the burden is on the
government to prove the accused guilty beyond a reasonable doubt of every essential element of
the crime(s) charged.

              A defendant has the right to rely upon the failure of the prosecution to establish
such proof. A defendant may also rely upon evidence brought out on cross-examination of the
government's witnesses.

                The law does not impose upon a defendant the duty of producing any evidence or
any witnesses. That is a decision the defendant may freely make, in consultation with his counsel.
You should not speculate as to why a defendant did not testify. There are many perfectly innocent
reasons why a defendant may decide not to. He may feel that because of the strain of being a
witness, the tension, that he might not be calm. He may be embarrassed by his lack of education,
or by his inability to speak well in front of a group of people. You are not to speculate on these
things. You may not draw any inference whatsoever from the defendant’s choice not to take the
stand.
                                                  40
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 44 of 68 PageID #: 778




              Alternatively, Defendant Romanello proposes the below instruction, citing the
Jury Charge of the Honorable Kevin Thomas Duffy, United States v. Rubio & Rosado, No. 81-
CR413 (S.D.N.Y.):

               The defendant did not take the stand. There are a lot of reasons why a defendant
may decide to testify, or not to testify. He may feel because of the strain or tension that he would
not be a calm witness. He might be embarrassed by the lack of education, by the inability that he
may have, or feel he has, to speak in front of a large group; or because his lawyer has told him
not to because the lawyer has reached a conclusion similar to those I have suggested.

               I am telling you right now, don’t bother yourself with the reasons. Don’t speculate
as to why the defendant chose not to testify. You are to draw absolutely no inference whatsoever
one way or the other from that.

              I remind you once more that the defendant may rely upon the presumption of
innocence and need do absolutely nothing more.


              Alternatively, Defendant Romanello proposes the below instruction, citing the
Jury Charge of the Honorable John F. Keenan, United States v. Persico, et al., No. 84-CR-809
(S.D.N.Y.):

               A defendant may decide just to rest on the presumption of innocence. And that's
something that he has every right to do. Don't speculate, ladies and gentlemen, as to why a
defendant chose not to testify. Draw no inference whatsoever from that. There are lots of reasons
why a person may decide not to testify. A defendant has an absolute right to decide not to testify
and it would be unfair, improper and unAmerican to hold such a decision against him in any way.




                                                41
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 45 of 68 PageID #: 779




 REQUEST NO. 25 — Number of Witnesses and Uncontradicted Testimony (Def. Romanello
                                    Only)

               The fact that one party called more witnesses and introduced more evidence than
the other does not mean that you should necessarily find the facts in favor of the side offering the
most witnesses. By the same token, you do not have to accept the testimony of any witness who has
not been contradicted or impeached, if you find the witness not to be credible. You also have to
decide which witnesses to believe and which facts are true. To do this you must look at all the
evidence, drawing upon your common sense and personal experience. (After examining all the
evidence, you may decide that the party calling the most witnesses has not persuaded you because
you do not believe its witnesses, or because you do believe the fewer witnesses called by the other
side.)
               In a moment, I will discuss the criteria for evaluating credibility; for the moment,
however, you should keep in mind that the burden of proof is always on the government and the
defendant is not required to call any witnesses, or offer any evidence, since he is presumed to be
innocent.

               Citing: Sand, Instruction 4-3.

               Government’s Objection:

               The government objects to the inclusion of this proposed instruction as redundant
and unnecessarily confusing given the instruction on the presumption of innocence and the burden
of proof. Indeed, as Sand advises, “[t]he court always retains the discretion to refuse to give a
number of witnesses instruction as long as the jury is properly charged on the presumption of
innocence and the burden of proof.” Sand, Note to Instruction 4-3. Moreover, having the proposed
instruction separate and apart from the burden of proof instruction suggests to the jury that the
number of witnesses presented should be offered some additional weight, which it should not. See
id. (“It should go without saying that the trial court should refrain from suggesting that the number
of witnesses can be relevant.” (citing United States v. Wynn, 987 F.2d 354, 358 (6th Cir. 1993)).




                                                 42
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 46 of 68 PageID #: 780




REQUEST NO. 26 — Impermissible to Infer Participation from Mere Presence (Def. Romanello
                                       Only)

              You may not infer that the defendant is guilty of participating in criminal conduct
merely from the fact that he was present at the time the crime was being committed and had
knowledge that it was being committed.

              Citing: Sand, Instruction 6-3.

             Government’s Objection:

              The government objects to the inclusion of this proposed instruction as cumulative
of the language included in the proposed Conspiracy Generally instruction above. See Request
No. 3 (“However, a defendant’s mere presence at the scene of criminal activities, or at
locations frequented by criminals, does not, by itself, make him a member of the conspiracy.
Similarly, mere association with one or more members of the conspiracy does not automatically
make a defendant a member. A person may know or be friendly with a criminal without being a
criminal himself. Mere similarity of conduct or the fact that individuals may have assembled
together and discussed common aims and interests does not necessarily establish proof of the
existence of a conspiracy.” (emphasis added)).




                                               43
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 47 of 68 PageID #: 781




 REQUEST NO. 27 — Impermissible to Infer Participation from Association (Def. Romanello
                                       Only)

              You may not infer that the defendant is guilty of participating in criminal conduct
merely from the fact that he associated with other people who were guilty of wrongdoing.

              Citing: Sand, Instruction 6-4.

             Government’s Objection:

              The government objects to the inclusion of this proposed instruction as cumulative
of the language included in the proposed Conspiracy Generally instruction above. See Request
No. 3 (“However, a defendant’s mere presence at the scene of criminal activities, or at locations
frequented by criminals, does not, by itself, make him a member of the conspiracy. Similarly,
mere association with one or more members of the conspiracy does not automatically make
a defendant a member. A person may know or be friendly with a criminal without being a
criminal himself. Mere similarity of conduct or the fact that individuals may have assembled
together and discussed common aims and interests does not necessarily establish proof of the
existence of a conspiracy.” (emphasis added)).




                                               44
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 48 of 68 PageID #: 782




  REQUEST NO. 28 — Missing Witness Not Equally Available to Defendants (if applicable)
                             (Def. Romanello Only)

              You have heard evidence about a witness who has not been called to testify. The
defense has argued that the witness could have given material testimony in this case and that the
government was in the best position to produce this witness.

                If you find that this uncalled witness could have been called by the government and
would have given important new testimony, and that the government was in the best position to
call him, but failed to do so, you are permitted, but you are not required to infer that the testimony
of the uncalled witness would have been unfavorable to the government.

                In deciding whether to draw an inference that the uncalled witness would have
testified unfavorably to the government, you may consider whether the witness’s testimony would
have merely repeated other testimony and evidence already before you.

               Citing: Sand, Instruction 6-5.

              Government’s Objection:

                The defendant has not identified a witness whom the government is in the “best
position to call” and has material testimony favorable to the defendant; as such, the proposed
instruction is not appropriate. See Sand, Notes to Instruction 6-3 (“An instruction permitting the
jury to infer that an uncalled witness would have given testimony unfavorable to the party that
failed to produce him should only be given when the witness was particularly available to that
party and had material testimony to give.”). First, a “court should not give the charge in this form
if the defendant also had access to the witness,” Sand, Notes to Instruction 6-3 (“In those instances
when the witness is equally available, the balanced instruction set forth in Instruction 6-7 . . .
should be given in those circuits which permit an ‘equally available’ charge.” (citing United States
v. Miranda, 526 F.2d 1319 (2d Cir. 1975) and United States v. Armone, 363 F.2d 385, 404–05 (2d
Cir. 1966)); see also United States v. Dixon, 536 F.2d 1388, 1394 (2d Cir. 1976) (district court
properly charged the jury it could draft an adverse inference against both parties where the witness
not called by either party); accord United States v. Grant, 683 F.3d 639, 650–51 (5th Cir. 2012)
(co-conspirator who has pleaded guilty and is awaiting sentencing is not peculiarly within the
government’s control), and Defendant Romanello has made no claim that any particular witness is
not equally available to the parties.5 Furthermore, the defendant has not identified such a


       5
               To the extent Defendant Romanello would suggest that the proposed instruction is
required given the government’s power to immunize witnesses who have invoked their Fifth
Amendment privilege against self-incrimination, the government notes this is wrong as a matter
of law. See United States v. Myerson, 18 F.3d 153, 160 (2d Cir. 1994) (upholding the district
court’s “refus[al] to give a missing witness charge” where the government declined to immunize
a witness who had invoke his privilege against self-incrimination); see also id. at 158-59 (“Other

                                                 45
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 49 of 68 PageID #: 783




purportedly missing witness who would exculpate him, which is another prerequisite to the
proposed instruction. See United States v. Ebbers, 458 F.3d 110, 124 (2d Cir. 2006) (“[N]one of
the three proposed witnesses would have exculpated Ebbers, and the district court did not err in
refusing to give a missing witness charge”).




circuits to consider the issue are unanimous . . . in holding that, despite the government’s power
to grant immunity, a witness invoking his constitutional rights is unavailable to the government
as well as the defense, and no missing witness charge need be given” (collecting cases)).
                                                  46
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 50 of 68 PageID #: 784




                REQUEST NO. 29 — Bias and Hostility (Def. Romanello Only)

               In connection with your evaluation of the credibility of the witnesses, you should
specifically consider evidence of resentment or anger that some government witnesses may have
towards the defendant.

               Evidence that a witness is biased, prejudiced or hostile toward the defendant
requires you to view that witness’ testimony with caution, to weigh it with care, and subject it to
close and searching scrutiny.

              Citing: Sand, Instruction 7-2.

              Government’s Objection:

               The government objects to the proposed instruction as cumulative and misleading.
First, the proposed instruction is redundant because the guidance is already captured in the standard
instruction regarding Credibility of Witnesses. See Sterling (“How much you choose to believe a
witness may also be influenced by the witness’s bias. Does the witness have a relationship with
the Government or the defendant that might affect how he or she testified. Does the witness have
some incentive, loyalty, or motive that might cause him or her to shade the truth. Does the witness
have some bias, prejudice, or hostility that may cause the witness to give you something other
than a completely accurate account of the facts he or she testified to?” (emphasis added)).
Second, the proposed instruction improperly suggests that there was evidence of bias and hostility
to the jury, which is inappropriate. The Credibility of Witnesses instruction informs the jury with
respect to its consideration of credibility of witnesses, including considering possible bias,
prejudice or hostility. Therefore, this proposed instruction is superfluous and should not be given
to the jury.




                                                 47
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 51 of 68 PageID #: 785




                 REQUEST NO. 30 — Interest in Outcome (if applicable) (Joint)

                In evaluating the credibility of the witnesses, you should take into account any

evidence that a witness may benefit in some way from the outcome of the case. Such interest in

the outcome creates a motive to testify falsely and may sway the witness to testify in a way that

advances his or her own interests. Therefore, if you find that any witness whose testimony you are

considering may have an interest in the outcome of this trial, then you should bear that factor in

mind when evaluating the credibility of his or her testimony and accept it with great care.

                Keep in mind, though, that it does not automatically follow that testimony given by

an interested witness is to be disbelieved. There are many people who, no matter what their interest

in the outcome of the case may be, would not testify falsely. It is for you to decide, based on your

own perceptions and common sense, to what extent, if at all, the witness' interest has affected his

or her testimony. It is for you to decide, based on your own perceptions and common sense, to

what extent, if at all, the witness’ interest has affected his or her testimony.

                                              Authority

                Adapted from Sterling; Sand, § 7.01, Instruction 7-3.




                                                  48
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 52 of 68 PageID #: 786




     REQUEST NO. 31 — Permissible Inferences Drawn from the Evidence (Gov’t Only)

                 During the trial, you may have heard the attorneys use the term “inference,” and in

their arguments, they have asked you to infer on the basis of your reason, experience, and common

sense from one or more established facts the existence of some other fact.

                 An inference is not a suspicion or guess. It is a reasoned, logical decision to

conclude that a disputed fact exists on the basis of another fact that you know exists.

                 There are times when different inferences may be drawn from facts whether proved

by direct or circumstantial evidence. The government asked you to draw one set of inferences

while the defense asks you to draw another. It is for you and you alone to decide what inferences

you will draw.

                 The process of drawing inferences from facts and evidence is not a matter of

guesswork and speculation. An inference is a deduction or conclusion that you, the jury, are

permitted—but not required—to draw from the facts that have been established by either direct or

circumstantial evidence. In drawing inferences, you should exercise your common sense.

                                              Authority

                 Adapted from Zhukov; Sterling; Sand, § 6.01, Instruction 6-1.

                 Defendant Romanello’s Objection:

              Defendant Romanello instead proposes the following instruction, citing the Jury
Charge of the Honorable I. Leo Glasser, United States v. Coffey, et al., No. 04-CR-651 (ILG):

               If two inferences may reasonably be drawn from the evidence, one consistent with
innocence and the other consistent with guilt, you must draw the inference of innocence for the
reason that in a criminal case, the prosecution is required to prove guilt beyond a reasonable
doubt.

              Alternatively, Defendant Romanello proposes the below instruction, citing United
States v. McConney, 329 F.2d 467, 469 (2d Cir. 1964), and cases cited therein:

                                                 49
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 53 of 68 PageID #: 787




               Now, of course, different inferences can be drawn from evidence, whether it is
direct or circumstantial. The government, of course, asks you to draw one set of inferences, while
the defendant asks you to draw another. It is for you alone to decide what inferences you will
draw from the evidence and what facts you find to have been proven. But if two sets of inferences
may reasonably be drawn from the evidence - one consistent with innocence and the other
consistent with guilt - then you may not convict because I have instructed you that guilt must be
proven beyond a reasonable doubt.

                The burden of proof is upon the government to establish the defendant's guilt. The
burden is not upon the defendant to establish his innocence. Thus, if you find as to any charges
or charges that the evidence is as consistent with innocence as with guilt, then the defendant must
be acquitted on that charge.




                                                50
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 54 of 68 PageID #: 788




              REQUEST NO. 32 — Accomplice Testimony (if applicable) (Joint)

               You have heard a witness who testified that he was actually involved in planning

and carrying out the crimes charged in the indictment. There has been a great deal said about this

so-called accomplice witness in the summations of counsel and whether or not you believe him.

               The government argues, as it is permitted to do, that it must take the witnesses as it

finds them. It argues that people who themselves take part in criminal activity have the knowledge

required to show criminal behavior by others.

               For those very reasons, the law allows the use of accomplice testimony. Indeed, it

is the law in federal courts that the testimony of an accomplice may be enough in itself for

conviction if the jury finds that the testimony establishes guilt beyond a reasonable doubt.

               However, it is also the case that accomplice testimony is of such a nature that it

must be scrutinized with great care and viewed with particular caution when you decide how much

of that testimony to believe. I have given you some general considerations on credibility and I will

not repeat them all here. Nor, I will repeat all the arguments made on both sides. However, let me

say a few things that you may want to consider during your deliberations on the subject of

accomplices. You should ask yourself whether this so-called accomplice will benefit more by lying

or by telling the truth. Was his testimony made up in any way because he believed or hoped that

he would somehow receive favorable treatment by testifying falsely, or did he believe that his

interests would be best served by testifying truthfully? If you believe that the witness was

motivated by hopes of personal gain, was the motivation one that would cause him to lie or was it

one that would cause him to tell the truth? Did this motivation color his testimony?




                                                51
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 55 of 68 PageID #: 789




               In sum, you should look at all of the evidence in deciding what credence and what

weight, if any, you will want to give to the accomplice witness.

                                            Authority

                      Adapted from Zhukov; Sand, § 7.01, Instruction 7-5.




                                               52
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 56 of 68 PageID #: 790




                   REQUEST NO. 33 — Trial Perjury (Def. Romanello Only)

               If you believe that a witness knowingly testified falsely concerning any important
matter, you may distrust the witness’ testimony concerning other matters. You may reject all of the
testimony or you may accept such parts of the testimony that you believe are true and give it such
weight as you think it deserves.

              Citing: Third Circuit Model Criminal Jury Instruction 4.26.

              Government’s Objection:

                The government objects to the proposed instruction as it is not recommended by
Sand and, in fact, has been rejected by the Second Circuit. “[W]ith the exception of the Third
Circuit, none of the published circuit pattern instructions include a falsus in uno instruction. Given
this strong trend to refrain from charging the jury on this issue, it is recommended that no
instruction be given but rather that a general instruction on credibility be given and that this issue
be left to the argument of counsel.” Sand, Notes to Instruction 7-17. As Sand also notes, “several
circuits,” including the Second Circuit, “have rejected [this proposed instruction] as inconsistent
with life’s experience.” Sand, Notes to Instruction 7-17; see also United States v. Weinstein, 452
F.2d 704, 713 (2d Cir. 1971) (“There has never been any positive rule of law which excluded
evidence from consideration entirely, on account of the wilful [sic] falsehood of a witness as to
some portions of his testimony.” (citation omitted)).




                                                 53
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 57 of 68 PageID #: 791




            REQUEST NO. 34 — Prior Perjury (if applicable) (Def. Romanello Only)

               There has been evidence that a witness who testified at this trial lied under oath at
another proceeding. I must warn you that the testimony of this witness should be viewed cautiously
and weighed with great care. It is, however, for you to decide how much of his testimony, if any,
you wish to believe.

              Citing: Sand, Instruction 7-18.

              Government’s Objection:

              The government objects to the proposed instruction as it is cumulative of the
Credibility of Witnesses instruction. See United States v. Provenzano, 615 F.2d 37, 46 (2d Cir.
1980) (rejecting challenge to the district court’s “asserted failure of the court to charge the jury to
examine [a witness’s] testimony with special care and caution because he was an informant and
perjurer” in part because the district court “did give the standard charge regarding the jury’s
exclusive function to determine the credibility of witnesses and the weight and value to be given
their testimony.”).




                                                  54
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 58 of 68 PageID #: 792




            REQUEST NO. 35 — Acts and Declaration of Co-Conspirators (Gov’t Only)

                Count One against the defendants alleges that each defendant committed the

charged crime “together with others.” In that regard, I admitted into evidence against each

defendant the acts and statements of others because these acts and statements were committed by

persons who, the government charges, were also confederates or co-conspirators of the defendants

on trial.

                The reason for allowing this evidence against the defendants has to do with the

nature of the crime of conspiracy. A conspiracy is often referred to as a “partnership in crime.”

Thus, as in other types of partnership, when people enter into a conspiracy to accomplish an

unlawful end, each and every member becomes an agent for the other conspirators in carrying out

the conspiracy.

                Accordingly, the reasonably foreseeable acts, declarations, and statements of any

members of the conspiracy, made in furtherance of the common purpose of the conspiracy, are

deemed, under the law, to be the acts of all the members, and all of the members are responsible

for such acts, declarations and statements. You may consider these acts and statements even if

they were done and made in the defendant's absence and without his knowledge or if they were

made in advance of the defendant joining the conspiracy so long as those statements were

reasonably foreseeable as part of the defendant’s membership in the conspiracy. As with all the

evidence presented in this case, it is for you to decide whether you believe this evidence and how

much weight to give it.

                                            Authority

                Adapted from Zhukov; Sterling.


                                                 55
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 59 of 68 PageID #: 793




               Defendant Romanello’s Objection:

               Defendant Romanello instead proposes the following instruction, citing Sand,
Instruction 19-9:6

              You will recall that I have admitted into evidence against the defendant the acts
and statements of others because these acts and statements were committed by persons who, the
government charges, were also confederates or co-conspirators of the defendant on trial.

               The reason for allowing this evidence to be received against defendant has to do
with the nature of the crime of conspiracy. A conspiracy is often referred to as a partnership in
crime. Thus, as in other types of partnerships, when people enter into a conspiracy to accomplish
an unlawful end, each and every member becomes an agent for the other conspirators in carrying
out the conspiracy.

               Accordingly, the reasonably foreseeable acts, declarations, statements and
omissions of any member of the conspiracy and in furtherance of the common purpose of the
conspiracy, are deemed, under the law, to be the acts of all of the members, and all of the members
are responsible for such acts, declarations, statements and omissions.

               If you find, beyond a reasonable doubt, that the defendant was a member of the
conspiracy charged in the indictment, then any acts done or statements made in furtherance of the
conspiracy by persons also found by you to have been members of that conspiracy, may be
considered against the defendant. This is so even if such acts were done and statements were made
in the defendant's absence and without his knowledge.

                However, before you may consider the statements or acts of a co-conspirator in
deciding the issue of a defendant's guilt, you must first determine that the acts and statements were
made during the existence, and in furtherance, of the unlawful scheme. If the acts were done or
the statements made by someone whom you do not find to have been a member of the conspiracy
or if they were not done or said in furtherance of the conspiracy, they may be considered by you
as evidence only against the member who did or said them.




       6
               The government notes that although Defendant Romanello cites Sand, Instruction
19-9, the proposed instruction is not Instruction 19-9 listed in Sand.

                                                 56
 Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 60 of 68 PageID #: 794




                                        CONCLUSION

                The parties respectfully request that the Court include the foregoing in its

instructions to the jury. In addition, the government requests the opportunity to submit further

instructions or amend those submitted as appropriate.

Dated:          Brooklyn, New York
                November 15, 2023


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney
                                                    Eastern District of New York


                                            By:      /s/                     .
                                                    Dana Rehnquist
                                                    Irisa Chen
                                                    Rebecca M. Schuman
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cc:      Clerk of Court (EK) (via ECF and email)
         Counsel of Record (via ECF and email)



Enclosure (Proposed Verdict Form)




                                               57
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 61 of 68 PageID #: 795




                     Exhibit A
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 62 of 68 PageID #: 796
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 63 of 68 PageID #: 797
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 64 of 68 PageID #: 798
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 65 of 68 PageID #: 799
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 66 of 68 PageID #: 800
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 67 of 68 PageID #: 801
Case 1:22-cr-00194-EK Document 97 Filed 11/15/23 Page 68 of 68 PageID #: 802




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

 UNITED STATES OF AMERICA

           - against -                                              VERDICT FORM [PROPOSED]
                                                                    22-CR-194 (EK)
 ANTHONY ROMANELLO,
           also known as “Rom,” and
 JOSEPH CELSO,
                                         Defendants.
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                                               COUNT ONE
                                (Extortionate Collection of Credit Conspiracy)

        As to defendant ANTHONY ROMANELLO:

                                                 Not Guilty ___________       Guilty ___________

        As to defendant JOSEPH CELSO:

                                                 Not Guilty ___________       Guilty ___________


                                                 COUNT TWO
                                        (Extortionate Collection of Credit)

        As to defendant ANTHONY ROMANELLO:

                                                 Not Guilty ___________       Guilty ___________

        As to defendant JOSEPH CELSO:

                                                 Not Guilty ___________       Guilty ___________


                                                  COUNT THREE
                                                (Obstruction of Justice)

        As to defendant JOSEPH CELSO:

                                                 Not Guilty ___________       Guilty ___________
